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                        EXHIBIT E
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URL: https://www.instagram.com/p/Cy0Ykv5sHwp/
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URL: https://www.perfectmoment.com/en-us/p/women-dede-johnston-legging-ski-party/dede-party
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URL:Case
     https://www.perfectmoment.com/en-us/p/pm-x-dede-johnston-thermal-half-zip/dede-party
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